  Case 2:17-cv-00503-MHT-DAB Document 23-2 Filed 10/02/17 Page 1 of 3




AAP Member Certification Agreement

Account Name: Parks Pharmacy, Inc.

Account Number:

Cost of Goods:

(Should reflect any adjustments noted below)

Payment Terms: INV02

DSO (if different from PVA terms): 1

Average Monthly Qualified Purchases (Group):

Average Monthly Generic Compliance:

Multiple Store Code: 21895

Primary Account Number:

Child Affiliation (if applicable): AAP-CHILD




                                                                Exhibit 2
     Case 2:17-cv-00503-MHT-DAB Document 23-2 Filed 10/02/17 Page 2 of 3




                             AMERICAN ASSOCIATED PHARMACIES
                             MEMBER CERTIFICATION AGREEMENT
                             FOR Parks Pharmacy, Inc.

       This American Associated Pharmacies Member Certification Agreement (the "Certification
Agreement") is made and entered into by and between Parks Pharmacy, Inc.  and Cardinal Health
110, LLC and Cardinal Health 112, LLC ("Cardinal Health").

1.      Member Certification

        The undersigned is a Member ("Member") of the American Associated Pharmacies ("GPO")
network of providers of pharmaceuticals and has elected to purchase pharmaceuticals from Cardinal Health
under the terms of that certain Prime Vendor Agreement by and between GPO and Cardinal Health which
was effective as of June 1, 2016 (the "Prime Vendor Agreement").

         The Member certifies, through an authorized representative, that the Member has received a copy
of the Member Terms and Conditions document, which sets forth the material terms of the Prime Vendor
Agreement, and has carefully read and fully understands the Member Terms and Conditions document and
the Member's and Cardinal Health's rights and responsibilities under the Prime Vendor Agreement. The
Member further certifies that throughout the remainder of the term of the Prime Vendor Agreement, and as
part of the consideration for Cardinal Health continuing to sell pharmaceuticals to the Member, the Member
agrees to be bound by the terms of the Prime Vendor Agreement.

2.      Capitalized Terms

       All capitalized terms used in this Certification Agreement not otherwise defined herein shall have
the same meaning as is ascribed to them in the Prime Vendor Agreement.

3.      Term

         This Certification Agreement shall be effective as of the first day of the first month following full
execution of this Certification Agreement, and shall continue in effect thereafter throughout the shorter of:
(a) the remainder of the term of the relationship between Cardinal Health and GPO under the Prime Vendor
Agreement or (b) the remainder of the term of the relationship between GPO and the Member.

4.      Initial Purchase Price




                                                                                                   Exhibit 2
     Case 2:17-cv-00503-MHT-DAB Document 23-2 Filed 10/02/17 Page 3 of 3




5.         Licensure & Own Use

         The Member represents and warrants to Cardinal Health that the Member has complied with, and
is currently and will be at all times during the term in compliance with, all applicable licensing requirements
of all applicable federal, state and local governmental authorities, including without limitation any licensing
requirements to purchase, receive, possess, store, use, dispense, and/or distribute or otherwise dispose of
pharmaceutical products. Prior to purchasing Rx Products from Cardinal Health hereunder and at all times
during the term of this Certification Agreement, the Member will provide Cardinal Health with copies of
all such licenses and any renewals, revocations, changes or notices related thereto. All purchases by the
Member under the Prime Vendor Agreement will be for the Member's "own use" as that term is defined in
judicial or legislative interpretation and shall not be sold to anyone other than an end user. Cardinal Health
may terminate this Certification Agreement and Member's participation under the Prime Vendor
Agreement immediately in the event it reasonably determines that the Member is in breach of this
paragraph.

6.         Miscellaneous

         No waiver of any right or remedy by Cardinal Health shall constitute a subsequent waiver of the
same right or remedy. No changes to this Certification Agreement shall be made or be binding on either
party unless made in writing and signed by both parties to this Certification Agreement. The validity and
interpretation of this Certification Agreement shall be determined by the laws of the State of Ohio,
excluding its conflicts of laws provisions. This Certification Agreement shall not be assigned by either
party without the prior written consent of the other party; provided, however, Cardinal Health may assign
its rights and obligations hereunder without such consent to any entity which is controlled by or under
common control with Cardinal Health, Inc.


                                                           Cardinal Health 110, LLC
                                                           Cardinal Health 112, LLC
                                                           7000 Cardinal Place
                                                           Dublin, Ohio 43017
                                                           Telecopy: (614) 757-6000

By DEE PAR~S (May 17';:016)                                By          ~~,
Title President                                            Title VP, Retail Independent Buying Groups

Date May 17, 2016                                          Date May 16, 2016




                                                                                                   Exhibit 2
